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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

- - ee eee eR Ln X
UNITED STATES OF AMERICA

7 Ve. - SUPERSEDING INDICTMENT
NICOLAS MADURO MOROS, S2 11 Cr. 205 (AKH)

DIOSDADO CABELLO RONDON,
HUGO ARMANDO CARVAJAL BARRIOS,
a/k/a “El Pollo,” :
CLIVER ANTONIO ALCALA CORDONES, eS ee]
LUCIANO MAR{N ARANGO, fee
a/k/a “Ivan Marquez,” and Hee
SEUXIES PAUCIS HERNANDEZ SOLARTE, yoo ROE ICALLY PELE
a/k/a “Jesus Santrich,” : yen

Defendants. Wie i

COUNT ONE
(Narco-Terrorism Conspiracy)

The Grand Jury charges:
Overview

1. From at least in or about 1999, up to and including
in or about 2020, NICOLAS MADURO MOROS, ‘DIOSDADO CABELLO RONDON,
HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “EL Pollo,” CLIVER ANTONIO
ALCALA CORDONES, LUCIANO martin ARANGO, a/k/a “Ivan Marquez,” and
SEUXIS PAUCIS HERNANDEZ SOLARTEH, a/k/a “Jests Santrich,” the
defendants, participated in a corrupt and violent narco-terrorism
conspiracy between the Venezuelan Cértel de Los Soles and the

Fuerzas Armadas Revolucionarias de Colombia (“FARC”),

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2. From at least in or about 1999, up to and including
in or about 2020, the FARC was a terrorist organization -- led at
times by LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,” and SEUXIS
PAUCIS HERNANDEZ SOLARTE, a/k/a “Jestis Santrich,” the defendants,
among others -- that became one of the largest producers of cocaine
in the worid and perpetrated acts of violence against United States
nationals and property.

3. From at least in or about 1999, up to and including
in or about 2020, the Cartel de Los Soles, or “Cartel of the Suns,”
was a Venezuelan drug-trafficking organization comprised of high-
ranking Venezuelan officials who abused the Venezuelan people and
corrupted the legitimate institutions of Venezuela -- including
parts of the military, intelligence apparatus, legislature, and
the judiciary -- to facilitate the importation of tons of cocaine
into the United States. The name of the Cartel de Los Soles is a
reference to the sun insignias affixed to the uniforms of high-
ranking Venezuelan military officials who are members of the
Cartel.

4, NICOLAS MADURO MOROS, the defendant, helped manage
and, ultimately, lead the Cartel de Los Soles as he gained power
in Venezuela. Under the leadership of MADURO MOROS and others,
the Cartel de Los Soles sought not only to enrich its members and

enhance their power, but also to “flood” the United States with

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cocaine and inflict the drug’s harmful and addictive effects on
users in this country. Thus, whereas most drug-trafficking
organizations in South and Central America have sought to recede
from their roles in importing narcotics into the United States in
an effort to avoid U.S. prosecution, the Cartel de Los Soles, under
the leadership of MADURO MOROS and others, prioritized using
cocaine as a weapon against America and importing as much cocaine
as possible into the United States.

5. While pursuing these and other objectives, NICOLAS
MADURO MOROS, the defendant, negotiated multi-ton shipments of
FARC-produced cocaine; directed that the Cartel de Los Soles
provide military-grade weapons to the FARC; coordinated foreign
affairs with Honduras and other countries to facilitate large-
scale drug trafficking; and solicited assistance from FARC
leadership in training an unsanctioned militia group’ that
functioned, in essence, as an armed forces unit for the Cartel de
Los Soles.

The Cartel de Los Soles and the Venezuelan Defendants

6. At various times between 1999 and 2020, NICOLAS
MADURO MOROS, DIOSDADO CABELLO RONDON, HUGO ARMANDO CARVAJAL
BARRIOS, a/k/a “El Polio,” and CLEVER ANTONIO ALCALA CORDONES, the
Gefendants, acted as leaders and managers of the Cartel de Los

Soles and the narco-terrorism conspiracy with the FARC.

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7. NICOLAS MADURO MOROS, the defendant, is a
Venezuelan citizen, was previously the president of Venezuela, and
is now the de facto ruler of the country. MADURO MOROS also
previously held a seat in the Venezuelan National Assembly between
in or about 2000 and in or about 2006, acted as the Venezuclan
foreign minister between in or about 2006 and in or about 2013,
and acted as the vice president of Venezuela in or about 2013.
MADURO MOROS succeeded to the Venezuelan presidency after Hugo
Chavez died in or about 2013 and, during his presidency, continued
to participate in cocaine trafficking with the Cartel de Los Soles
and the FARC. In or about 2018, MADURO MOROS declared victory in
a presidential election in Venezuela. In or about 2019, the
National Assembly of Venezuela invoked the Venezuelan constitution
and declared that MADURO MOROS had usurped power and was not the
president of Venezuela. Since in or about 2019, more than 50
countries, including the United States, have refused to recognize
MADURO MOROS as Venezuela’s head of state and instead recognized
Juan Guaidé as the interim president of Venezuela. In or about
January 2020, the United States Department of State certified the
authority of Guaidé, as the interim president of Venezuela, to
receive and control property in accounts at the United States
Federai Reserve maintained by the Venezuelan government and the

Central Bank of Venezuela.

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8. DIOSDADO CABELLO RONDON, the defendant, is a
Venezuelan citizen, president of Venezuela’s National Constituent
Assembly, and a member of the Venezuelan armed forces. CABELLO
RONDON previously acted as chief of staff to Chavez in or about
2001, vice president of Venezuela in or about 2002, governor of
Venezuela’s Miranda State between in or about 2004 and in or about
2008, and president of Venezuela’s National Assembly between in or
about 2012 and in or about 2016.

9. HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,”
the defendant, is a Venezuelan citizen and was the director of
Venezuela’s military intelligence agency, which was known as the
Direccién de Intelligencia Militar (“DIM”), between in or about
2004 and in or about 2011. In or about 2013, NICOLAS MADURO MOROS,
the defendant, made CARVAJAL BARRIOS the director of the DIM for
a second time. Between in or about January 2014 and in or about
June 2014, CARVAJAL BARRIOS held the title of Venezuela’s consul
general to Aruba. In or about January 2016, despite being a
fugitive on drug-trafficking charges that have been pending in the
Southern District of New York since at least in or about 2011,
CARVAJAL BARRIOS was elected to the Venezuelan National Assembly.
As of the filing of this Superseding Indictment, CARVAJAL BARRIOS

remains a fugitive on pending charges in underlying indictments in

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the Southern District of New York and subject to a lawful order of
extradition issued by Spain in or about 2019.

10. CLIVER ANTONIO ALCALA CORDONES, the defendant, is
a Venezuelan citizen and a former general in the Venezuelan
military.

The FARC and the FARC Defendants

11. Between at least in or about 1999, up to and
including in or about 2020, the FARC became one of the largest
producers of cocaine in the world. The FARC has also directed
violent acts against United States persons and property in foreign
jurisdictions, including, but not limited to, Colombia. For
example, the FARC leadership ordered FARC members to kidnap and
murder United States citizens and to attack United States interests
in order to dissuade the United States from continuing its efforts
to fumigate FARC coca fields and disrupt the FARC’s manufacturing
and distribution of cocaine and cocaine paste. Consistent with
these activities, in or about 1997, the United States Department
of State designated the FARC as a Foreign Terrorist Organization.
The FARC remains so designated as of the filing of this Superseding
Indictment.

12. LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,” the
defendant, is a Colombian citizen who joined the FARC in or about

1985. In or about 2006, the United States Attorney’s Office for

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the Southern District of New York filed a drug-trafficking charge
against 50 leaders of the FARC, including MARIN ARANGO. As of the
filing of this Superseding Indictment, MARIN ARANGO is a fugitive
on that charge and a member of the FARC’s Secretariat, which is
the FARC’s highest leadership body.

13. SEUXIS PAUCTS HERNANDE% SOLARTE, a/k/a “Jests
Santrich,” the defendant, is a Colombian citizen who joined the
FARC in or about 1991. As of the filing of this Superseding
Indictment, HERNANDEZ SOLARTE is a member of the FARC’s Central
High Command, which is the FARC’s second-highest leadership body.

Means and Methods of the Narco-Terrorism Conspiracy

14. In furtherance of the narco-terrorism conspiracy,
at various times between in or about 1999 and in or about 2020,
members of the conspiracy organized their drug~trafficking
activities as follows:

a. Beginning in or about 1999, while the FARC was
purporting to negotiate toward peace with the Colombian
government, the FARC agreed with leaders of the Cartel de Los Soles
to relocate some of its operations to Venezuela under the
protection of the Cartel.

b. Members and associates of the FARC, operating
under the leadership of LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,”

and SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a “Jests Santrich,” the

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defendants, among others, cultivated coca leaves on farms in
Colombia and Venezuela, such as in southwest Colombia and in the
Serrania del Perija& mountain range that spans Colombia and
Venezuela.

Cc. The FARC and the Cartel de Los Soles
dispatched processed cocaine from Venezuela to the United States
via transshipment points in the Caribbean and Central America,
such as Honduras. By in or about 2004, the United States
Department of State estimated that 250 or more tons of cocaine
were transiting Venezuela per year. The maritime shipments were
shipped north from Venezuela’s coastline using go-fast vessels,
fishing boats, and container ships. Air shipments were often
dispatched from clandestine airstrips, typically made of dirt or
grass, concentrated in the Apure State.

a. In order to achieve safe passage for the large
cocaine shipments transiting Venezuela, members and associates of
the FARC and the Cartel de Los Soles paid bribes, which ultimately
benefited NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON, HUGO
ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,” and CLIVER ANTONIO
ALCALA CORDONES, the defendants, among others, in exchange for,
for example, access to commercial ports and data from air and
maritime radar in Venezuela. According to the United States

Department of State, approximately 75 unauthorized flights

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suspected of drug-trafficking activities entered Honduran airspace
in 2010 alone, using what is known as the “air bridge” cocaine
route between Venezuela and Honduras.

eo MADURO MOROS, CABELLO RONDON, CARVAJAL
BARRIOS, and ALCALA CORDONES coordinated with the FARC in
furtherance of the narco-terrorism conspiracy in order to:
transport and distribute these large cocaine shipments; benefit
from, and cause others to participate in, the provision of heavily
armed security to protect the cocaine shipments; cause large
quantities of previously~seized cocaine to be sold to drug
traffickers in exchange for millions of dollars; interfere with
drug-trafficking investigations and pending criminal cases in
Venezuela and elsewhere; and help provide the FARC with military-
grade weapons, including machineguns, ammunition, rocket
launchers, and explosives equipment.

Acts in Furtherance of the Narco-Terrorism Conspiracy Between
the Cartel de Los Soles and the FARC

15. In furtherance of the narco-terrorism conspiracy
and to effect the illegal objects thereof, the following overt
acts, among others, were committed:

a. In or about 2003, an associate of the FARC and

the Cdrtel de Los Soles paid SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a

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“Jesis Santrich,” the defendant, $300,000 to help establish a FARC
camp near Apure, Venezuela where the FARC could process cocaine.

b. In or about 2005, Chavez instructed NICOLAS
MADURO MOROS, the defendant, who was then a member of the
Venezuelan National Assembly, and others, that Venezuelan judges
who would not protect the FARC an@ its activities should be removed
from their positions. That same year, the Venezuelan government
largely terminated Venezuela’s participation in bilateral counter~-
narcotics operations with the Drug Enforcement Administration
(“DEA”) .

c. In or about 2006, Chavez made MADURO MOROS the
foreign minister of Venezuela. During the same year, the FARC
paid MADURO MOROS $5 million in drug proceeds, through a third
party, in connection with a money-laundering scheme that was part
of the narco-terrorism conspiracy. MADURO MOROS and others agreed
to launder many millions of dollars from the FARC, including the
$5 million, by purchasing palm oil extraction equipment from
Malaysia with drug proceeds, which would be used to support the
operation of African paim plantations in Apure that would appear
legitimate. In connection with this scheme, in or about December
2006, Venezuela announced trade agreements with Malaysian firms
relating to African palm oil extraction and crude oil exploration

in Venezuela.

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d. Tn or about 2006, the Cartel de Los Soles
dispatched a 5.6-ton cocaine shipment from Venezuela on a DC-9 jet
bearing a United States registration number. DIOSDADO CABELLO
RONDON and HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,” the
defendants, worked with other members of the Cartel de Los Soles
to coordinate the shipment. The jet departed Venezuela from Simén
Bolivar International Airport in Maiquetia, Venezuela (the
“Maiquetia Airport”), and landed at Ciudad del Carmen Airport in
Campeche, Mexico. Mexican authorities seized the 5.6 tons of
cocaine when it arrived in Campeche.

e. In or about 2008, Chavez, who was at that time
the president of Venezuela and one of the leaders of the Cartel de
Los Soles, agreed with LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,”
the defendant, to use funds from the Venezuelan state-owned oil
producer, Petréleos de Venezuela (PDVSA), to support the FARC’s
drug-trafficking and terrorist operations.

f. In or about 27008, MADURO MOROS, CABELLO
RONDON, and CARVAJAL BARRIOS attended a meeting with a FARC
representative at which the attendees agreed that the Cartel de
Los Soles would provide the FARC cash and weapons in exchange for
increased cocaine production. During the meeting, MADURO MOROS

agreed to abuse his authority as foreign minister to ensure that

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the border between Venezuelan and Colombia remained open to
facilitate drug trafficking.

gq. In or about 2008, CABELLO RONDON, CARVAJAL
BARRIOS, and CLIVER ANTONIO ALCALA CORDONES, the defendant, held
a meeting at which they agreed that ALCALA CORDONES would take on
additional duties coordinating drug-trafficking activities by the
Cartel de Los Soles and the FARC.

h. In or about 2009, MADURO MOROS, CABELLG
RONDON, and CARVAJAL BARRIOS attended a meeting with a FARC
representative at which the attendees discussed a four~-ton cocaine
shipment that the FARC was prepared to transport to the Cartel de
Los Soles. CABELLO RONDON directed that the FARC deliver the
cocaine to a particular location in Venezuela, where a jet would
be waiting to transport the cocaine to Nicaragua for further
shipment to Mexico and importation into the United States. During
the meeting, the group also discussed a recent coup dfétat in
Honduras, and CABELLO RONDON warned, in substance and in part,
that the resulting instability could “fuck up the business.”
MADURO MOROS traveled to Honduras after the meeting, purporting to
act as the Venezuelan foreign minister, in order to try to
intervene on behalf of the Cartel de Los Soles so that events in
Honduras would not disrupt the drug-trafficking activities of the

narco-terrorism conspiracy.

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i. In or about September 2013, months after
MADURO MOROS succeeded to the Venezuelan presidency, the Cartel de
Los Soles dispatched 1.3 tons of cocaine on a commercial flight
from the Maiguetia Airport to Paris Charles de Gaulle Airport.
French authorities seized the cocaine. Following the seizure,
MADURO MOROS cancelled a trip to attend a session of the U.N.
General Assembly in New York, citing to the media purported death
threats against him. In Venezuela, MADURO MOROS convened a meeting
with, among others, CABELLO RONDON and CARVAJAL BARRIOS. During
the meeting, MADURO MOROS told CABELLO RONDON and CARVAJAL BARRIOS,
in substance and in part, that they should not have used the
Maiquetia Airport for drug trafficking after the 2006 seizure in
Mexico, and that the Cartel de Los Soles should instead use its
other well-established drug routes and locations to dispatch
cocaine.

5. In or about September 2013, shortly after
French authorities seized the 1.3-ton cocaine shipment from the
Cartel de Los Soles, MADURO MOROS and others authorized the arrests
of Venezuelan military officials in an effort to divert public and
law enforcement scrutiny from the participation in the shipment by
MADURO MOROS, CABELLO RONDON, and CARVAJAL BARRIOS.

k. In or about 2014, MADURO MOROS met with MARIN

ARANGO at a military base in Caracas. During the meeting, MADURO

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MOROS agreed to continue to provide weapons to the FARC and
requested that the FARC help train an armed militia group in
Venezuela. MADURO MOROS also told MARIN ARANGO, in substance and
in part, that the militia would not be associated with the
Venezuelan government, which would afford plausible deniability to
government officials for the militia’s anticipated violence.
MARIN ARANGO agreed to help MADURO MOROS train the militia and
later facilitated training for members of the militia near his
FARC camp in 4ulia State.

1. In or about July 2014, Aruban authorities
provisionally arrested CARVAJAL BARRIOS at the request of the
United States. in response, MABURO MOROS, CABELLO RONDON, and
other members of the Cartel de Los Soles pressured Aruba and the
Dutch government to release CARVAJAL BARRIOS, including by
reportedly deploying Venezuelan naval assets toward Aruba. Aruba
released CARVAJAL BARRIOS, and he returned to the protection of
the Cartel de hos Soles in Venezuela.

m. Tn or about 2015, following the agreement
between MADURO MOROS and MARIN ARANGO regarding the provision of
weapons and other equipment, members of the Cartel de Los Soles
diverted Venezuelan military equipment to the FARC. CABELLO RONDON
personally participated in the delivery of machineguns,

ammunition, and rocket launchers to the FARC at a military base in

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Venezuela. During the delivery, CABELLO RONDON and others
discussed the fact that the weapons were a partial payment for
cocaine that the FARC had provided to members of the Cartel de Los
Soles.

n. Between in or about October 2015 and in or
about November 2015, Efrain Campo Flores and Franqui Francisco
Flores de Freitas -- two relatives of MADURO MOROS -- agreed during
recorded meetings with DEA confidential sources to dispatch multi-
hundred-kilogram cocaine shipments from MADURO MOROS' s
“presidential hangar” at the Maiquetia Airport. During recorded
meetings with the sources, Campo Flores and Flores de Freitas
explained that they were at “war” with the United States, described
the Cartel de fos Soles, discussed a connection to a “commander
for the FARC” who was “supposedly high-ranked,” and indicated that
they were seeking to raise $20 million in drug proceeds to support
a campaign by the Venezuelan first lady -- and wife of MADURO MOROS
~- in connection with a late-2015 election for the Venezuelan
National Assembly. Campo Flores referred to MADURO MOROS as his
“father,” and stated that “what we want is for him to take control
again of the . . . National Assembly.” Flores de Freitas joked
that “any opposing candidate who comes out and starts to become a
pest . . . three or four have already been Locked up.” In November

2016, Campo Flores and Flores de Freitas were convicted at trial

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in the Southern District of New York of conspiring to import
cocaine into the United States.

Q. In or about 2017, MADURO MOROS continued to
work with and direct other members of the Cartel de Los Soles to
dispatch large cocaine shipments to the United States.
Specifically, CABRLLO RONDON and other members of the Cdértel de
Los Soles facilitated air shipments of ton quantities of cocaine
to clandestine airstrips in Venezuela’s Barinas State. Uniformed
FARC personnel armed with machineguns and other weapons heiped
receive the cocaine in Barinas and loaded the drugs into vehicles
with secret compartments to be transported toward the Venezuelan
coast for further distribution.

p- Beginning in or about 2017, after purporting
to negotiate peace agreements with the Colombian government on
behalf of the FARC in or about 2016, HERNANDEZ SOLARTE agreed to
provide a multi-ton quantity of cocaine to DEA confidential sources
so that the drugs could be imported into the United States. The
sources purported to work for Rafael Caro Quintero, a Mexican drug
trafficker who participated in the 1985 torture and murder of DEA
Agent Enrique “Kiki” Camarena. During a recorded meeting,
HERNANDEZ SOLARTE referred to the murder of Camarena by

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characterizing Caro Quintero as the person who had killed the “son

of the bitch of the DEA.”

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q. Tn or about June 2018, Colombian authorities
provisionally arrested HERNANDEZ SOLARTE, at the request of the
United States Attorney's Cffice for the Southern District of New
York, based on a cocaine-importation conspiracy charge in this
District related to HERNANDEZ SOLARTE’s agreement with DEA
confidential sources to provide large quantities of cocaine for
importation into the United States in or about 2017 and 2018.
HERNANDEZ SOLARTE was subsequently released, however, and is a
fugitive as of the filing of this Superseding Indictment.

r. In or about July 2019, MADURO MOROS and
CABELLO RONDON attended a videotaped press conference at which
MADURO MOROS announced that the FARC, and in particular MARIN
ARANGO and HERNANDEZ SOLARTE, are welcome in Venezuela.

Ss. In August 2019, MARTIN ARANGO, standing near
HERNANDEZ SOLARTE, announced in a videotaped statement that the
FARC was beginning a “new phase” of its “armed struggle.” MARIN
ARANGO characterized this “struggle” as a “continuation of the
rebel fight.”

STATUTORY ALLEGATIONS

16. From at least in or about 1999, up to and including
in or about 2020, in an offense begun and committed out of the
qurisdiction of any particular State or district of the United

States, including in Venezuela, Colombia, Mexico, Iran, Syria,

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Lebanon, and elsewhere, NICOLAS MADURO MOROS, DIOSDADO CABELLO
RONDON, HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,” CLEVER
ANTONIO ALCALA CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan
Marquez,” and SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a “Jesis
Santrich,” the defendants, and others known and unknown, at least
one of whom will be first brought to and arrested in the Southern
District of New York, intentionally and knowingly combined,
conspired, confederated, and agreed together and with each other
to violate Title 21, United States Code, Section 960a.

17. It was a part and an object of the conspiracy that
NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON, HUGO ARMANDO
CARVAJAL BARRIOS, a/k/a “Bl Pollo,” CLIVER ANTONIO ALCALA
CORDONES, LUCTANO MARIN ARANGO, a/k/a “Ivan Marquez,” and SEUXIS
PAUCIS HERNANDEZ SOLARTE, a/k/a “Jestis Santrich,” the defendants,
and others known and unknown, would and did engage in conduct that
would be punishable under Title 21, United States Code, Section
841{a) if committed within the jurisdiction of the United States,
to wit, the distribution of, and possession with the intent to
distribute, five kilograms and more of mixtures and substances
containing a detectable amount of cocaine, knowing and intending
to provide, directly and indirectly, something of pecuniary value
to a person and organization that has engaged and engages in

terrorism and terrorist activity, to wit, the FARC (which has been

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designated by the United States Secretary of State as a foreign
terrorist organization pursuant to Section 219 of the Immigration
and Nationality Act and remains so designated) and its members,
operatives, and associates, having knowledge that such
organization and persons have engaged and engage in terrorism and
terrorist activity, in violation of Title 21, United States Code,
Section 960a.

(Title 21, United States Code, Section 960a; and
Title 18, United States Code, Section 3238.)}

COUNT TWO
(Cocaine Importation Conspiracy)

The Grand Jury further charges:

18. Paragraphs 1 through 15 of this Superseding
Indictment are realleged and incorporated by reference as though
fully set forth herein.

19. From at least in or about 1999, up to and including
in or about 2020, in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, including in Venezuela, Colombia, Mexico, Iran, Syria,
Lebanon, and elsewhere, NICOLAS MADURO MOROS, DIOSDADO CABELLO
RONDON, HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,” CLIVER
ANTONIO ALCALA CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan
Marquez,” and SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a “Jestis

Santrich,” the defendants, and others known and unknown, at least

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one of whom will be first brought to and arrested in the Southern
District of New York, intentionally and knowingly combined,
conspired, confederated, and agreed together and with each other
to violate provisions of Title 21, United States Code, Chapter 13,
Subchapter II.

20. It was a part and an object of the conspiracy that
NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON, HUGO ARMANDO
CARVAJAL BARRIOS, a/k/a “El Pollo,” CLIVER ANTONIO ALCALA
CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,” and SEUXIS
PAUCIS HERNANDEZ SOLARTE, a/k/a “Jestis Santrich,” the defendants,
and others known and unknown, would and did import into the United
States from a place outside thereof a controlled substance, in
violation of Title 21, United States Code, Sections 952(a) and
960 (a) (1).

21. It was further a part and an object of the
conspiracy that NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON,
HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,” CLIVER ANTONIO
ALCALA CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,” and
SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a “Jests Santrich,” the
defendants, and others known and unknown, would and did
manufacture, distribute, and possess with intent to distribute a
controlled substance, intending, knowing, and having reasonable

cause to believe that such substance would be unlawfuily imported

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into the United States and into waters within a distance of 12
miles of the coast of the United States, in violation of Title 21,
United States Code, Sections 959(a) and 960(a} (3).

22. It was further a part and an object of the
conspiracy that NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON,
HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “E1 Pollo,” CLIVER ANTONTO
ALCALA CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,” and
SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a “JestQs Santrich,” the
defendants, and others known and unknown, would and did, on board
an aircraft registered in the United States, manufacture,
distribute, and possess with intent to distribute a controlled
substance, in violation of Title 21, United States Code, Sections
959(c) and 960 (a) (3}.

23. The controlled substance that NICOLAS MADURO MOROS,
DIOSDADO CABELLO RONDON, HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El
Pollo,” CLIVER ANTONIO ALCALA CORDONES, LUCIANO MARIN ARANGO,
a/k/a “Ivan Marquez,” and SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a
“Jestis Santrich,” the defendants, conspired to (1) import into the
United States and into the customs territory of the United States
from a place outside thereof, (ii) manufacture and distribute,
intending, knowing, and having reasonable cause to believe that
such substance would be unlawfully imported into the United States

and into waters within a distance of 12 miies of the coast of the

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United States from a place outside thereof, and (i1ii} manufacture,
distribute, and possess on board an aircraft registered in the
United States, was five kilograms and more of mixtures and
substances containing a detectable amount of cocaine, in viclation
of Title 21, United States Code, Section 960 (b) (1) (B).

(Title 21, United States Code, Section 963; and
Title 18, United States Code, Section 3238.)

COUNT THREE
(Possession of Machineguns and Destructive Devices)

The Grand Jury further charges:

24, Paragraphs 1 through 15 of this Superseding
Indictment are realieged and incorporated by reference as though
fully set forth herein.

25. From at least in or about 1999, up to and including
in or about 2020, in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, including in Venezuela, Colombia, Mexico, Iran, Syria,
Lebanon, and elsewhere, and for which at least one of two or more
joint offenders will be first brought to and arrested in the
Southern District of New York, NICOLAS MADURO MOROS, DIOSDADO
CABELLO RONDON, HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,”
CLIVER ANTONIO ALCALA CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan

Marquez,” and SEUXIS PAUCIS HERNANDE% SOLARTE, a/k/a “Jests

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Santrich,” the defendants, during and in relation to a drug
trafficking crime for which they may be prosecuted in a court of
the United States, to wit, the controlled substance offenses
charged in Counts One and Two of this Superseding Indictment,
knowingly used and carried firearms, and, in furtherance of such
crime, knowingly possessed firearms, and aided and abetted the
use, carrying, and possession of firearms, to wit, machineguns
that were capable of automatically shooting more than one shot,
without manual reloading, by a single function of the trigger, as
well as destructive devices.

(Title 18, United States Code,
Sections 924(c) (1) (A), 924(c) (1) (B) (41), 3238, and 2.)

COUNT FOUR
(Conspiracy to Possess Machineguns and Destructive Devices)

The Grand Jury further charges:

26. Paragraphs 1 through 15 of this Superseding
Indictment are realieged and incorporated by reference as though
fully set forth herein.

27. From at least in or about 1999, up to and including
in or about 2020, in an offense begun and committed out of the
jurisdiction of any particular State or district of the United
States, including in Venezuela, Colombia, Mexico, Iran, Syria,

Lebanon, and elsewhere, NICOLAS MADURO MOROS, DIOSDADO CABELLO

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RONDON, HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,” CLIVER
ANTONIO ALCALA CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan
Marquez,” and SEUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a “desis
Santrich,” the defendants, and others known and unknown, at least
one of whom will be first brought to and arrested in the Southern
District of New York, intentionally and knowingly combined,
conspired, confederated, and agreed together and with each other
to violate Title 18, United States Code, Section 924 (c).

28. It was a part and an object of the conspiracy that
NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON, HUGO ARMANDO
CARVAJAL BARRIOS, a/k/a “El Pollo,” CLIVER ANTONIO ALCALA
CORDONES, LUCIANO MARIN ARANGO, a/k/a “ivan Marquez,” and SEUXIS
PAUCIS HERNANDEZ SOLARTE, a/k/a “Jestis Santrich,” the defendants,
and others known and unknown, would and did, during and in relation
to a drug trafficking crime for which they may be prosecuted in a
court of the United States, to wit, the controlled substance
offenses charged in Counts One and Two of this Superseding
Indictment, use and carry firearms, and, in furtherance of such
drug trafficking crime, possess firearms, including machineguns
that were capable of automatically shooting more than one shot,
without manual reloading, by a single function of the trigger, as
well as destructive devices, in violation of Title 18, United

States Code, Sections 924(c} (1) (A) (4) and 924({c) (1) (B) (ii).

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(Title 18, United States Code, Sections 924(0) and 3238.)

FORFEITURE ALLEGATION
(As to Counts One and Two)

29, As a result of committing the controlled substance
offenses charged in Counts One and Two of this Superseding
Indictment, NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON, HUGO
ARMANDO CARVAJAL BARRIOS, a/k/a “El Pollo,” CLIVER ANTONIO ALCALA
CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,” and SEUXIS
PAUCIS HERNANDEZ SOLARTE, a/k/a “desis Santrich,” the defendants,
shall forfeit to the United States, pursuant to Title 21, United
States Code, Sections 9853 and 970, any and all property
constituting, or @erived from, any proceeds the defendants
obtained, directly or indirectly, as a result of the offenses, and
any and all property used, or intended to be used, in any manner
or part, to commit, and to facilitate the commission of, the
offenses charged in Counts One and Two of this Superseding

Indictment.

FORFEITURE ALLEGATION
(As to Counts Three and Four)

30. As a result of committing the firearms offenses
charged in Counts Three and Four of this Superseding Indictment,
NICOLAS MADURO MOROS, DIOSDADO CABELLO RONDON, HUGO ARMANDO
CARVAJAL BARRIOS, a/k/a “El Pollo,” CLIVER ANTONIO ALCALA

CORDONES, LUCIANO MARIN ARANGO, a/k/a “Ivan Marquez,” and SEUXIS

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PAUCIS HERNANDEZ SOLARTE, a/k/a “Jestis Santrich,” the defendants,
shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 924({d), all firearms and ammunition involved
in and used in the commission of the offenses charged in Counts
Three and Four of this Superseding Indictment.

Substitute Assets Provision

31. If any of the above-described forfeitable property,
as a result of any act or omission of NICOLAS MADURO MOROS,
DIOSDADO CABELLO RONDON, HUGO ARMANDO CARVAJAL BARRIOS, a/k/a “EL
Pollo,” CLIVER ANTONIO ALCALA CORDONES, LUCIANO MARIN ARANGO,
a/k/a “Ivan Marquez,” and SKUXIS PAUCIS HERNANDEZ SOLARTE, a/k/a

“Jests Santrich,” the defendants:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or

deposited with, a third person;

Cc. has been placed beyond the jurisdiction of the
Court;

d. has been substantiaily diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty,

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it is the intent of the United States, pursuant to Title 21, United
States Code, Sections 853(p) and 970, and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property of
the defendants up to the value of the above forfeitable property.

(Title 21, United States Code, Sections 853 & 970; and
Title 28, United States Code, Section 2461(c).)

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
-v.-

NICOLAS MADURO MOROS,
DIOSDADO CABELLO RONDON,
HUGO ARMANDO CARVAJAL BARRIOS,
a/k/a “El Pollo,”

CLIVER ANTONIO ALCALA CORDONES,
LUCIANO MARIN ARANGO,
a/k/a “Ivan Marquez,” and
SEUXIS PAUCIS HERNANDEZ SOLARTE,
a/k/a “Jests Santrich,”

Defendants.

SUPERSEDING INDICTMENT

S2 11 Cr. 205 (AKH)

(21 U.S.C. §§ 960a, 963; and
18 U.S.C. §§ 924, 3238, 2.)

GHOFFREY S. BERMAN
United States Attorney.

A TRUE BILL

